972 F.2d 341
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Raymond Foster SHELTON, Petitioner-Appellant,v.STATE of North Carolina, Respondent-Appellee.
    No. 92-6482.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 20, 1992Decided:  August 4, 1992
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Malcolm J. Howard, District Judge.  (CA-92-229-HC)
      Raymond Foster Shelton, Appellant Pro Se.
      E.D.N.C.
      Dismissed.
      Before MURNAGHAN, HAMILTON, and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Raymond Foster Shelton seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C.s 2254 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.*  Shelton v. North Carolina, No. CA-92-229-HC (E.D.N.C. Apr. 1, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         Shelton moved in this Court for an order to produce documents and an order to require the Post Office to trace certain mailings.  Those motions are denied
      
    
    